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Jason R.N. Monteleone

JOHNSON & MONTELEONE, L.L.P.
350 N. 9" St, ste. 500

Boise, Idaho 83702

Telephone: (208) 331-2100

Facsimile: (208) 947-2424
jason@treasurevalleylawyers.com
Idaho State Bar No. 5441

Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

 

Kaylyn Franks,
Plaintiff
V.

United States Department of Agriculture,
Sonny Purdue as Secretary of United
States Department of Agriculture, in Both
His Individual and Official Capacities,
Mark Samson, in His Official Capacity as
the Former State Executive Director for
the United States Department of
Agriculture/Farm Services Agency in
Idaho, and John/Jane Does I-X, whose
true identities are presently unknown,

Defendants

 

Case No.

COMPLAINT AND DEMAND FOR
JURY TRIAL

 

COMES NOW Plaintiff, Kaylyn Franks, by and through her attorney of record,

Jason R.N. Monteleone of Johnson & Monteleone, L.L.P., and, for cause(s) of action

against Defendants, alleges, avers, and states as follows relative to her claims and causes

of action against Defendants for gender discrimination and employment retaliation for

engaging in activities as set forth in and protected by the Title VII of the Civil Rights Act

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of 1964, 42 U.S.C. 2000e-5, et seg., as amended, as well as for violation of her First
Amendment civil rights, as secured by 42 U.S.C. §1983:
JURISDICTION
1. The United States District Court for the District of Idaho has subject matter
jurisdiction over Plaintiffs federal claims pursuant to 42 U.S.C. §1331 and 28

U.S.C. §1343(a)(3).

VENUE
2. The United States District Court for the District of Idaho is an appropriate
venue, pursuant to 28 U.S.C. §1391(b)(2), because a substantial part of the

events or omissions given rise to Plaintiff's claims, occurred in this district.

PARTIES

3. Plaintiff, Kaylyn Franks is a long-time employee of United States Department
of Agriculture and, at all times relevant herein was, and is currently a resident
of Boise, Ada County, Idaho.

4, Defendant, United States Department of Agriculture (“USDA”) is a federal
agency entrusted with administering various, federal, agricultural programs,
including the Farm Services Agency (“FSA”) in Idaho, which was the division
of the USDA with whom Plaintiff has been and currently is employed.

5. Defendant, Sonny Purdue, is the current Secretary of the USDA and is being

sued in both his individual and official capacities.

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Defendant, Mark Samson, in was the former State Executive Director for the
United States Department of Agriculture/Farm Services Agency (““USDA/FSA)
in Idaho

At all times relevant to this action, John/Jane Does I through X, whose true
identities are presently unknown (“the Doe Defendants”), Defendants, are now
and at all times relevant to this action were entities or individuals who were the
agents, employees, independent contractors, subdivisions, franchisees, wholly-
owned subsidiaries, or divisions of the Defendants specifically identified herein
or are entities or individuals acting on behalf of, in a mastet/servant or
principal/agent relationship with, or in concert with Defendants named herein.

At all times relevant to the events described herein, all Defendants were acting
under color of state law and are thus sued in the individual as well as official

capacities.

FACTS COMMON TO ALL CAUSES OF ACTION
Plaintiff realleges the preceding paragraphs as though fully set forth in haec
verba.,
Plaintiff has been an employee of the USDA/FSA for approximately thirty-six
(36) years with her employment beginning on August 5, 1982.
Plaintiff's current position with the USDA/FSA is Senior District Director, and
she has held that position for the last three (3) years.
Of the four (4) District Directors for the USDA/FSA in Idaho, Plaintiff is the

only female.

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13. During the past two to three years of her employment with USDA/FSA,
Plaintiff has been subjected to discrimination based on gender and has been
retaliated against for raising legitimate concerns of gender discrimination in the
workplace.

14. Some examples of the gender discrimination to which Plaintiff has been
subjected include, but are not limited to, the following:

a. On May 3, 2017, during a Leadership Meeting, a prior District Director
publicly divulged negative, confidential information regarding Plaintiff's
past performance as a District Director for the USDA/FSA;

b. On January 19, 2017, Plaintiff was denied an ad hoc telework agreement,
when similarly-situated, male counterparts were allowed such telework
agreements;

c. On October 5, 2016, Plaintiff was reprimanded for an alleged failure to
adhere to the travel voucher policies of the USDA/FSA, when similarly-
situated, male counterparts were not reprimanded for committing the same
alleged violations;

d. During Plaintiff's performance review for fiscal year 2016, Defendants
failed to recognize some of her significant accomplishments, and she
received a lower performance rating than was deserved;

e. On Various occasions, including in April 2016, Plaintiff's travel authority
was limited, she was required to request approval for a privately-owned

vehicle (“POV”), and approvals of her requested travel vouchers were

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delayed, while her similarly-situated, male counterparts were not subjected
to such conduct and had their requested travel vouchers timely approved;

f. On various dates in 2016, Defendants denied Plaintiff's repeated requests
for additional staffing and undermined her efforts to improve her district
offices, while similarly-situate, male counterparts were not subjected to the
same difficulties and were granted additional staffing to meet the needs of
their respective offices;

g. Defendants denied Plaintiff the opportunity to participate in a conference
call with officials regarding late crop reports and disregarded her
memorandum to address this issue and propose changes that would improve
this issue;

h. Defendants ignored Plaintiff's requests to include her staff's significant
farming duties, which resulted in understaffing and criticism of Plaintiff's
job performance, though Defendants did not ignore the staffing needs of
Plaintiff's similarly-situated, male counterparts;

i. Defendants would not allow Plaintiff to attend official visits to Native
American reservations, which were being made on behalf of the
USDA/FSA, though Plaintiffs similarly-situated, male counterparts
regularly participated in these official visits to the reservations;

j. Defendants would ignore Plaintiff's requests for guidance on hiring and
staffing, though Defendants would not ignore such requests from Plaintiff's

similarly-situated, male counterparts;

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k. Defendants ignored Plaintiff's repeated requests for assistance with her late
crop reports, and she was told to figure it out herself; Defendants did not
take this approach with Plaintiffs similarly-situated, male counterparts;

l. Defendants threatened to remove all vehicles from Plaintiff's district as a
result of her enquiries into the reimbursement policies and rules relative to
late filing fees;

m. Defendants regularly chastised Plaintiff for making legitimate enquiries into
how to perform her job duties, though Defendants would not take such an
approach with Plaintiff's similarly-situated, male counterparts;

n. Defendants would make random enquiries into Plaintiff's reporting of her
time and attendance reports, though Defendants would not take such an
approach with Plaintiff's similarly-situated, male counterparts;

o. Defendants would not notify Plaintiff of various visits which were made by
upper management to Plaintiffs offices, though Defendants would not take
such an approach with Plaintiff's similarly-situated, male counterparts;

p. Defendants regularly failed to recognize Plaintiff's notable, professional
accomplishments, though Defendants would not take such an approach with
Plaintiff's similarly-situated, male counterparts;

q. Defendants’ management avoided communicating with Plaintiff on the
phone, sent condescending e-mails to her, and responded to her in meetings
and conference calls in a condescending manner, though Defendants would
not take such an approach with Plaintiffs similarly-situated, male

counterparts;

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r. On January 18, 2017, Defendants’ management made false comments about
Plaintiff which materially and substantively affected her position, though
Defendants would not take such an approach with Plaintiff's similarly-
situated, male counterparts; and

s. OnJanuary 19, 2017, during an official meeting, Defendants’ management,
specifically Mark Samson (the former State Executive Director of the
USDA/FSA in Idaho) publicly and specifically advised Plaintiff to refrain
from filing any discrimination complaints against the new, incoming

leadership for the USDA/FSA in Idaho.

15. Plaintiff has exhausted her administrative remedies prior to filing the instant
action.
16. Asadirect and proximate cause of the gender discrimination and retaliation to

which Plaintiff has been subjected by Defendants, Plaintiff has suffered
damages, both economic and noneconomic in nature, in amounts to be
determined at trial.

17. Plaintiff has been required to retain the services of Johnson & Monteleone,
L.L.P., in connection with the prosecution of this action and requests that the
attorney fees and litigation costs associated with this representation be paid by

Defendants.

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FIRST CAUSE OF ACTION — GENDER DISCRIMINATION IN VIOLATION OF
TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, 42 U.S.C. §2000e-5, et seq.

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Plaintiff realleges the preceding paragraphs as though fully set forth in haec
verba.

Defendants’ disparate treatment of Plaintiff was based on Plaintiff's gender and
is set forth, in part, in J914(a)-14(s), supra.

The actions of Defendants in discriminating against Plaintiff because of her
gender are in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C.
§ 2000(e)-5, et seqg., which prohibit discrimination in employment on the basis
of gender.

Plaintiffis entitled to recover damages, including back, front pay, back benefits,
front benefits, compensatory damages, and punitive damages due to
Defendants’ discriminatory conduct on the basis of gender.

As a direct and proximate result of the illegal acts and omissions of Defendants,
Plaintiff has incurred lost wages and/or a loss of future earning capacity in
amounts to be proven at trial.

As a direct and proximate result of the illegal acts and omissions of Defendants,
Plaintiff has suffered noneconomic damages for, among other things, pain and
suffering, emotional distress, humiliation, and the loss of the ability to perform
daily activities in amounts to be proved at trial.

Plaintiff has been required to retain the services of Johnson & Monteleone,
L.L.P., in connection with the prosecution of this action and requests that the
attorney fees and litigation costs associated with this representation be paid by

Defendants.

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SECOND CAUSE OF ACTION —- EMPLOYMENT RETALIATION IN

VIOLATION OF CIVIL RIGHTS ACT OF 1964, AS AMENDED
Plaintiff realleges the preceding paragraphs as though fully set forth in haec
verba.
Plaintiff engaged in protected activities, when she raised legitimate concerns
and complaints of gender discrimination in the workplace.
Defendants took negative, tangible employment actions against Plaintiff for
having raised legitimate concerns and complaints of gender discrimination in
the workplace.
Plaintiffs actions and conduct in having raised legitimate concerns and
complaints of gender discrimination in the workplace caused Defendants to take
negative employment actions against Plaintiff and to retaliate against her in the
employment context, which have caused Plaintiff to suffer damages, both
special and general in nature as well as both economic and noneconomic.
As a direct and proximate result of the illegal acts and omissions of Defendants,
Plaintiff has incurred lost wages and/or a loss of future earning capacity in
amounts to be proven at trial.
As a direct and proximate result of the illegal acts and omissions of Defendants,
Plaintiff has suffered noneconomic damages for, among other things, pain and
suffering, emotional distress, humiliation, and the loss of the ability to perform
daily activities in amounts to be proved at trial.
Plaintiff has been required to retain the services of Johnson & Monteleone,

L.L.P., in connection with the prosecution of this action and requests that the

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attorney fees and litigation costs associated with this representation be paid by

Defendants.

THIRD CAUSE OF ACTION -- VIOLATION OF PLAINTIFF’S FIRST

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AMENDMENT CIVIL RIGHTS (42 U.S.C. §1983)
Plaintiff realleges the preceding paragraphs as though fully set forth in haec
verba.
On January 19, 2017, during an official meeting, Defendants’ management
publicly and specifically advised Plaintiff to refrain from filing a discrimination
complaint against the new leadership for the USDA/FSA offices in Idaho.
The conduct set forth in the prior paragraph was not only illegal retaliation, it
was a violation of Plaintiff's civil rights guaranteed by the First Amendment to
the United States Constitution.
Defendant, Mark Samson, while acting under color of state law, deprived
Plaintiff of certain rights, privileges, and/or immunities which were secured by
the United States Constitution and other laws. This deprivation of rights,
privileges, and/or immunities caused Plaintiff to suffer damages. Specifically,
Defendants, including specifically Mark Samson, deprived Plaintiff of her First
Amendment right to free speech, under the United States Constitution, as well
as equal protection under the law as mandated by the Fourteenth Amendment
to the United States Constitution.
As a direct and proximate result of the deprivation of rights, privileges, and/or
immunities due Plaintiff, Plaintiffhas suffered special and general damages and

is entitled to an award of punitive damages. Plaintiff has suffered pain and

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suffering, emotional distress, mental anguish, and other general damages due to
Defendants’ tortious conduct in violating her civil rights.

Defendant, Mark Samson, will not enjoy qualified immunity in this litigation,
because they acted in direct contravention and violation of clearly-established
law.

As a direct and proximate result of the illegal acts and omissions of Defendants,
Plaintiff has incurred lost wages and/or a loss of future earning capacity in
amounts to be proven at trial.

As a direct and proximate result of the illegal acts and omissions of Defendants,
Plaintiff has suffered noneconomic damages for, among other things, pain and
suffering, emotional distress, humiliation, and the loss of the ability to perform
daily activities in amounts to be proved at trial.

For the violation of her First Amendment rights, Plaintiffis entitled to an award
of punitive damages prusuant to 42 U.S.C. §1981a.

Plaintiff has been required to retain the services of Johnson & Monteleone,
L.L.P., in connection with the prosecution of this action and requests that the
attorney fees and litigation costs associated with this representation be paid by

Defendants.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

For Plaintiff's special and general damages in amounts which may be proven

at trial and which meet the jurisdictional threshold of the District Court;

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2. For costs of the action incurred herein;
3. For reasonable attorney fees to be determined by the Court; and
4, For such other and further relief, as this Court deems just, equitable, and

proper in the premises.

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DATED: This _/Z “day of April, 2018.

JOHNSON & MONTELEONE-ELP.
Hasgn R.N. Monteleon&—
Attorneys for Plaintj

 

DEMAND FOR JURY TRIAL
Pursuant to F.R.C.P. 38(b), Plaintiffs hereby demand a trial by jury on any and all

issues properly triable by jury in this action.

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DATED: This |Z “day of April, 2018.

JOHNSON & MONTELEONE, L.L.P.

Nafen R.N. M
ttorneys for Plat

    
 

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